Case 2:21-cv-19788-MEF-AME Document 11-1 Filed 06/02/23 Page 1 of 3 PageID: 73




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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA ex
  rel. VIJAYANT SINGH, M.D.,                  HON. CLAIRE C. CECCHI

                       Plaintiffs,            Civil Action No. 21-19788 (CCC) (AME)

  v.                                          FILED UNDER SEAL

  HUDSON HOSPITAL OPCO, LLC
  d/b/a CHRIST HOSPITAL, et al.,              ORDER

                       Defendants.

       The United States of America, by its attorney, Philip R. Sellinger, United

States Attorney for the District of New Jersey (David E. Dauenheimer, Assistant

United States Attorney, appearing) having filed its Notice of Election to Decline

Intervention pursuant to 31 U.S.C. § 3730(b)(2)(A), the Court rules as follows:

       IT IS on this             day of                                , 2023;




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Case 2:21-cv-19788-MEF-AME Document 11-1 Filed 06/02/23 Page 2 of 3 PageID: 74




      ORDERED that only the Complaint, the United States’ Notice of Election to

Decline Intervention, and this Order be unsealed and served upon the Defendants

by the Relator. All other contents of the Court’s file in this matter (including, but

not limited to, any applications filed by the United States to administratively

terminate the case, oppositions filed by the United States in response to the

Relator’s motions, reply briefs, memoranda, and supporting documents) shall

remain under seal and not be made public or served upon the Defendants; and it

further

      ORDERED that the seal be lifted as to all other matters occurring in this

action after the date of this Order; and it is further

      ORDERED that Relator may maintain the instant action in the name of the

United States; provided, however, that the action may be dismissed only if the

Court and the Attorney General of the United States give written consent to the

dismissal and their reasons for consenting; and it is further

      ORDERED that pursuant to 31 U.S.C. § 3730(c)(3), all subsequent pleadings,

including supporting memoranda, filed in this action must be served upon the

United States; and it is further

      ORDERED that the United States may order any deposition transcript or

intervene in this action, for good cause, at any time; and it is further

      ORDERED that the parties shall serve all notices of appeal upon the United

States; and it is further

      ORDERED that all Orders of this Court in this action shall be sent to the



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Case 2:21-cv-19788-MEF-AME Document 11-1 Filed 06/02/23 Page 3 of 3 PageID: 75




United States; and it is further

      ORDERED that should either the Relator or the Defendants propose that

this action be dismissed, settled, or otherwise discontinued, they will solicit the

written consent of the United States before the Court rules or grants its approval.

Dated: Newark, New Jersey

                           , 2023


                                               _______________________________
                                               HON. CLAIRE C. CECCHI
                                               United States District Judge




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